          Case 4:14-cv-40080-TSH Document 1 Filed 06/13/14 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF MASSACHUSETTS
                                CENTRAL DIVISION



NICHOLAS FIORILLO, AS          )
TRUSTEE OF THE FIORILLO        )
FAMILY REVOCABLE TRUST and     )
18 PENN AVENUE REALTY TRUST,   )
      Plaintiff                )
                               )
v.                             )
                               )
KEVIN M. CURTIS, FELICIO LANA  )
d/b/a NORTHEAST PROPERTIES,    )
RICHARD MERLINO, MARK WINIKER, )                   CIVIL ACTION NO.
TINA BRENN, DENNIS COY, STEVEN )
SHALANSKY, CURTIS PROPERTIES,  )
LLC, HOLLISTON MASONRY, INC.,  )
METROWEST PROPERTY             )
MANAGEMENT, LLC, CANAL         )
MARKETPLACE DEVELOPMENT,       )
LLC, BLACKSTONE LOFTS, LLC,    )
TOR-SHAL CAPITAL, LLC, RIVER   )
STREET REALTY TRUST, THE 426   )
MAIN STREET REALTY, LLC, and   )
WEBSTER FIRST FEDERAL CREDIT   )
UNION,                         )
       Defendants              )


                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1331, 1441, 1446, Defendant

Webster First Federal Credit Union (“Webster First”) files this Notice of Removal of the above-

named action to the United States District Court for the District of Massachusetts from

Worcester County Superior Court in which the action is now pending and states:

   1. This action was commenced in the Massachusetts Superior Court for Worcester County
      as Civil Action No. WOCV2013-02251D (“the Superior Court Action”), and is now
      pending in that court.


                                              1
      Case 4:14-cv-40080-TSH Document 1 Filed 06/13/14 Page 2 of 3




2. The following named Defendants have been served in the Superior Court action and have
   indicated they consent to this Notice of Removal: Kevin M. Curtis, Tina Brenn, Felicio
   Lana d/b/a Northeast Properties, Mark Winiker, Blackstone Lofts, LLC, Canal
   Marketplace Development LLC, and Metrowest Property Management. The written
   consents of the aforementioned Defendants are attached as Exhibit A. Defendants Steven
   Shalansky and Tor-Shal Capital were served but have since been dismissed from this
   case.

3. The remaining named defendants have not been served. See Lothrop vs. North American
   Air Charter, Inc., No. 13-10235-DPW, 2013 WL 3863917 (D. Mass. July 11, 2013)
   (“The rule of unanimity plainly does not require consent of defendants who have not been
   properly served.”).

4. The Superior Court action was commenced on December 12, 2013. Plaintiff did not serve
   Webster First until May 14, 2014. Except for defendant Kevin M. Curtis, no other
   defendant was served prior to May 14, 2014, according the returns of service filed in the
   Superior Court action. The time within which Webster First is permitted to file this
   Notice of Removal to this court has not elapsed.

5. A Copy of the Amended Complaint as served on Webster First and a copy of the other
   pleadings and orders served upon Webster First are filed with this Notice and attached as
   Exhibit B.

6. Pursuant to Local Rule 81.1(a), certified or attested copies of all records, proceedings and
   docket entries in the Worcester Superior Court action shall be filed with this court within
   thirty (30) days.

7. Defendant Webster First will give written notice of the filing of this Notice pursuant to
   the requirements of 28 U.S.C. § 1446(d).

8. A copy of this Notice is being filed with the Civil Division of the Worcester County
   Superior Court pursuant to the requirements of 28 U.S.C. § 1446(d).

9. The Plaintiffs’ complaint is civil in nature and purports to set forth two counts under the
   federal Racketeering Influenced and Corrupt Organizations (RICO) Act, 18 U.S.C. §§
   1961-1968.

10. This case is removable under 28 U.S.C. § 1441 because this United States District Court
    has original jurisdiction of the case pursuant to 28 U.S.C. § 1331. Section 1331 provides
    that the United States District Courts shall have original jurisdiction of all civil actions
    arising under the laws of the United States.




                                              2
           Case 4:14-cv-40080-TSH Document 1 Filed 06/13/14 Page 3 of 3



WHEREFORE, Defendant requests that the Worcester County Superior Court proceed no further
with the above numbered and entitled case, and that this action be removed from that court to the
United States District Court for the District of Massachusetts.

                                                            WEBSTER FIRST FEDERAL
                                                            CREDIT UNION

                                                            By_/s/ Andrew P. DiCenzo______
                                                            John A. Mavricos, BBO#325360
                                                            Andrew P. DiCenzo, BBO#689291
                                                            Christopher, Hays, Wojcik
                                                               & Mavricos, LLP
                                                            446 Main Street
                                                            Worcester, MA 01608
                                                            508-792-2800
                                                            jmavricos@chwmlaw.com
                                                            adicenzo@chwmlaw.com



                                    CERTIFICATE OF SERVICE

                 I, Andrew P. DiCenzo, hereby certify on this 13th day of June, 2014, I served a
copy of the foregoing document, to all counsel of record by causing a copy of same to be sent by
first class mail, postage prepaid to:

        Nathaniel D. Pitnof, Esq.                 Russell S. Chernin, Esq.
        100 Grove Street                          390 Main Street
        Worcester, MA 01605                       Worcester, MA 01608

        E. John Anastasi, Esq.                    Michael P. Angelini, Esq.
        245 Main Street                           Bowditch & Dewey. LLP
        Oxford, MA 0552                           311 Main Street
                                                  Worcester, MA 01608



                                                            _/s/ Andrew P. DiCenzo____



t:\pleadings\websf108\websf108 002 notice of removal.docx




                                                      3
